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 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,  ) CR. No. S-06-357 LKK
                                )
12                  Plaintiff, ) Order Continuing Matter for Further
                                ) Status Conference
13             v.               )
                                )
14   FAUSTINO HERNANDEZ,        )
                                )
15                  Defendants. )
                                )
16                              )
                                )
17
18
19        This matter came before the court for status conference on
20   June 12, 2007.    The United States was represented by Assistant
21   United States Attorney Robert M. Twiss.       Defendant Hernandez was
22   represented by attorney Dina Santos, Esq.
23         This matter was continued for further status hearing on
24   Tuesday, June 26, 2007 at 9:30 A.M.      Time   was excluded to and
25   including June 26, 2007 due to needs of counsel to prepare, Title
26   18, United States Code, Section 3161(h)(8)(B)(iv), Local Code T4.
27   I find that the needs of counsel to prepare outweigh the public
28   interest in a trial within 70 days, and that the interests of
           Case 2:06-cr-00357-LKK Document 57 Filed 08/22/07 Page 2 of 2


 1   justice require a further exclusion of time.
 2   Dated: August 21, 2007
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